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         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)



                                    UNITED STATES DISTRICT COURT
                                                       Eastern District of Arkansas

                   UNITED STATES OF AMERICA
                              V.
                                                                                        Case
                                                                                                      4:12CR00014-18-SWW
                                John Stockard                                           Number:
                                                                                        USM           26928-009

Date of Original Judgment:                          April 17, 2013

Date of Previous Amended Judgment: May 15, 2013                                         N/A
(Use Date of Last Amended Judgment if Any)                                              Defendant’s Attorney



        ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        G the defendant     G the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § 1B1.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             G DENIED.
             X GRANTED and the defendant’s previously imposed sentence of imprisonment of
                   51 months is reduced to 41 months.




Except as provided above, all provisions of the judgment dated April 17, 2013 will remain in effect.

IT IS SO ORDERED.

Order Date: 11/17/2014                                                           /s/Susan Webber Wright
                                                                                 United States District Judge

Effective Date: November 1, 2015
                (If different from order date)




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